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IN THE UNI'I`ED STATES DISTRICT COURT
FOR THE DISTRICT OF COLORADO

:»" 25 § hr §§
CivilActionNo.“"\' ""CV ""' 0 0 7 7 2 ;;;\;:_.z ._-;;W‘:`¢;`:`__‘-'§;:i;:`u
` )' -,,___\.~. v_.',..,..._l § ?. CL K
TRISTAANNESCHMIER,
Plaintiff
V.

PENROSE-ST FRANCIS HEALTH SERVICES
MD. KEVIN L CRUMP'I`ON

M.D. HALLET N WATZ

CHRISTINE PAPROCKI,

FRON'I` RANGE EMERGENCY SPECIALISTS

Defendants.

 

COMPLAINT

 

The level of medical care that the Plajntiff` received from the Defendants fell below the
acceptable standards of medical practice and as a result caused personal injury to the plaintiff, §
when the Defendants failed to perform test and procedures that would have assisted the patient in

becoming healthy.

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PARTIES
Plaintil`f 'I`rista Anne Schmier is a Citizen of Colorado Springs who presently resides at the
following address:

5408 North Nevada Ave # 103 Colorado Springs, Colorado 80918

Defendant Front Range Emergency Specialists is located at the following address:

2222 North. Nevada Ave. Colorado Springs, Colorado 80907

Defendant Penrose-St Francis Health Services is located at the following address:

6001 East Woodman Road Co|orado Springs, Co|orado 80923

Defendant MD. Kevin L Crumpton is a Citizen of Colorado Springs who is located at the
following address:

6001 East Woodman Road Co|orado Springs, Colorado 80923

Defendant Christine Paprocki is located at the following address:

6001 East Woodman Road Co|orado Springs, Co|orado 80923

Defendant MD. Hallet Watz is a Citizen of Colorado Springs who is located at the following

address:

6001 East Woodman Road Co|orado Springs, Colorado 80923

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FIRST CLAIM FOR RELIEF
AND SUPPORTING FACTUAL ALLEGATIONS.

Penrose-St Francis Health Services is liable for the actions of their Emergency Room

doctor’s Because the Emergency Room doctors have staff privileges at the hospital, and acted

negligently in their care of the Defendant

Furthermore Penrose-St Francis Health Services failed to clearly notify the Plaintiff that

their Emergency Room physician are an independent contractor.

Furthermore, the Emergency Room doctor’s are acting in the name of Penrose-St Francis
Health Services and acted negligently, causing personal injury and emotional stress to the
Plaintiff, therefore Penrose-St Francis Health Services is liable for the actions of their E.R.

Doctors.

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SECOND CLAIM FOR RELIEF
AND SUPPORTING FACTUAL ALLEGATIONS.

On March 12th 2011 the Plaintiff went to the Emergency Room complaining of pelvic pain
and bleeding, and was seen by M.D. Kevin L Crumpton, the Plaintiff advised M.D. Crurnpton that
she had spoken to her OBGYN’s Nurse and that the nurse had advised the Plaintiff to go into the
E.R. and have a pelvic ultrasound done to make sure that the IUD” merina” that was put in on
March 7th had not moved or done any damage to the Plaintiffs Cervix.

When the Plaintiff advised the M.D. Crumpton of this the Plaintiff was told that he was not
going to do a Pelvic Ultrasound and M.D. Crumpton than listened to the Plaintiffs chest and heart
beat, and gave her a RX for perceocet for the cramping and told the Plaintiff to follow up in one to
two days with her OBGYN.

M.D. Crumpton is negligence for not doing a Pelvic ultrasound on March 12th 2011 which
was done on March 16th 2011 at CSHP and which found that the IUD had moved and was inside
the Plaintiffs Cervix, Had M.D. Crumpton order the Pelvic Ultrasound on March 12th 2011. The
IUD would have been removed and the Plaintiff would not had to suffer for 6 days of pain and
bleeding.

M.D. Crumpton performed improper treatment when he failed to perform the requested
procedure that would have assist the patient in becoming healthy had the treatment been

performed

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A Pelvic Ultrasound is commonly known in the medical field as a way to make sure a IUD
such as merin has not moved or caused any damage to a patient’s Cervix.

Pelvic Ultrasounds have been previously proven to correctly diagnose Pelvic Pain when it
has to do with an IUD.

The plaintiff suffered further injury or an exacerbation of the injury or illness due to

improper treatment By M.D. Crumpton.

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TI-IIRD CLAIM FOR RELIEF
AND SUPPORTING FACTUAL ALLEGATIONS.

On March 16";‘l 2011 The Plaintiff went to the Emergency Room because she was
concerned that she Was hemorrhaging, and because she was cramping and having pain in her
Pelvic area.

The Plaintiff was seen by Practitioner Christine Paprocki and advised the Practitioner that
the Plaintiff was last seen on March 12m 2011 for the same issue of Bleeding and Cramping and
Pelvic Pain, and that she Needed to have a Pelvic Ultrasound Done the Practitioner Christine
refused to do a Pelvic Ultrasound, and told the Plaintiff that she needs to go and have the
Ultrasound done at CSHP at l:40pm that afternoon

Practitioner Christine was negligent by not performing the Pelvic ultrasound in the
Hospital and making the Plaintiff go and have the Ultrasound done as an outpatient, when
Practitioner Christine Was aware that by the Plaintiff having the Ultrasound done as an outpatient
the result would take a day or two before they would know the outcome of the ultrasound and that
she allowed the Plaintiff to suffer with the pain.

M.D. Hallet Watz is liable for the actions of his Practitioner Christine Paprocki for
allowing her to discharge the Plaintiff without proper Treatment, on 'lhe Medical reports it states
that the Plaintiff s condition at discharge had improved, when in all actuality the condition was the
same.

Practitioner Christine Paprocki is negligence for not doing a Pelvic ultrasound on March
16th 2011 which was done on March 16th 2011 at CSHP and which found that the IUD had moved
and was inside the Plaintitfs Cervix, Had Practitioner Christine Paprocki order the Pelvic
Ultrasound on March 16th 2011. The IUD would have been removed and the Plaintiff would not

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had to suifer for l more day of pain and bleeding.

Practitioner Christine Paprocki improper treatment when she failed to perform the
requested procedure that would have assist the patient in becoming healthy had the treatment been
performed.

A Pelvic Ultrasound is commonly known in the medical field as a way to make sure a IUD
such as merin has not moved or caused any damage to a patient’s Cervix.

Pelvic Ultrasounds have been previously proven to correctly diagnose Pelvic Pain when it

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FOURTH CLAIM FOR RELIEF
AND SUPPORTING FACTUAL ALLEGATIONS.

Front Range Emergency Specialists is liable for the actions of their employees, when there
employees committed medical malpractice by failing to provide medical care to the Plaintiff on
3-12-2011 and on 3-16-2011, when the plaintiff was seen by Front Range Emergency Specialists

M.D. Kevin Crumpton, M.D. Hallet Watz and Practitioner Christine Paprocki.

When the Plaintiff was seen in the Emergency Room at Penrose-St Francis Health
Services in Colorado Springs she requested that she have a Pelvic Ultrasound done and all three
Doctor’s said that they would not do it and therefore caused the Plaintiff to endure pain and

bleeding for a total of 6 days before the problem was resolved.

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REQUEST FOR RELIFE

The Plaintiff is requesting $60,000.00 for Pain and Suffering that 1 had to endure because
the Defendants failed to properly treat the patient That Amount is based on $10,000 a day for a

total of 6 days for a total of $60,000.00

$2,000,000.00 for Punitive Damages because the defendant’s conduct was malicious, and

reckless and disregard, the plaintiffs safety. And this amount is to punish the defendant’s and to

deter the defendant’s from committing similar acts in the future.

$200,000.00 for Non-economic damages as a result of the emotional distress that was

brought upon the plaintiff by the Defendant’s Actions.

The total amount that I am seeking from the Defendants is a total of $2,260,000.00

Date 03-25-201 l

  

 

([:’lairtiff’s riginal Signature)

5408 North Nevada Ave # 103
(Street Address)

Colorado Springs, Co 80918
(City, State, ZIP)

719-291-3911
(Telephone Number)

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